Case 2:05-cr-20095-.]PI\/| Document 58 Filed 08/10/05 Page 1 of 2 Page|D 82

EDEN_Y£;;,&C.

IN THE UNI'I`ED STA'I`ES DISTRICT EHDURT

FOR THE wEsTERN DISTRICT OF TE :
wEsTERN DIVISION NE§%§E§U AHH \9

 

   

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'§Z" l"'}i~i$
UNITED STATES OF` AMERICA, l
Plaintiff,
05 ¢a@oq§#’/

V. NO. 05-20171
LATONIA JOHNSON,

Defendant.

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ORDER GRA_NTING MO'I`ION TO CONTINUE SENTENCING HEARING

 

Before the Court is the Defendant’s Motion to Continus
August 10, 2005 Sentsncing, filed August 8, 2005. The motion is
hereby GRANTED and the Sentencing hearing is RESET to Fridayl
October 21, 2005 at 2:30 D.m.

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so ORDERED this L€ DAY OF August, 2005.

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/’ JOB P. MccALLA
g ENITED sTATEs DISTRICT JUDGE
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

